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Page1
1 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
2 TERRE HAUTE DIVISION
3
4
BENJAMIN KING, )
5 )
Plaintiff, )
6 )
-V- ) CASE NO.
7 ) 2:14-CV-OO70-WTL-DKL
DEPAUW UNIVERSITY, )
8 )
Defendant. )
9
10
11
12 The deposition upon oral examination of

13 BENJAMIN KING, a witness produced and sworn before me,
14 Debbi S. Austin, RMR, CRR, CSR, Notary Public in and
15 for the County of Hendricks, State of Indiana, taken
16 on behalf of the Defendant at the offices of Wilkinson
17 Goeller Modesitt Wilkinson & Drummy, 333 Ohio Street,
18 Terre Haute, Indiana, on October 22, 2014, at

19 9:50 a.m., pursuant to the Federal Rules of Civil

20 Procedure.

21
22
STEWART RICHARDSON & ASSOCIATES
23 Registered Professional Reporters
One Indiana Square
24 Suite 2425

Indianapolis, IN 46204
25 (317)237-3773

 

 

 

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APPEARANCES

FOR THE PLAINTIFF:

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ALSO PRESENT: Tony Holton

 

 

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1 problem? And how do you become aware that there's
2 a problem?
3 A I'm found aware by my friends. Sharon Crary, the
4 teacher, came over to Delt. We have a party where
5 we invite teachers over. And she made a comment
6 when someone gave her a drink, are you sure this
7 hasn't been drugged or something of that sort to
8 one of my friends. That's how I was -- and then a
9 couple days later, they -- my friends confronted me
10 about it and said that we believe that -
11 thinks that you sexually assaulted her, because we
12 talked to Sharon Crary about it or Sharon Crary's
13 comments.
14 Q All right. I'm not sure -- I'm not sure there's
15 linkage there for me yet. The comment about -- the
16 comment about drug in a drink --
17 A Yes.
18 Q -- and _I don't understand how those
19 two things link up.
20 A Because she originally claimed that she was
21 drugged, that she thought she was -- got some sort
22 of date rape drug in her drinks, so --
23 Q And how do you know that she claimed that? Where
24 does that information come from?
25 A Evidence and my -- I think she asked *»

 

 

 

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1 about that, if like l had used any drugs in the
2 shot I gave her. And I didn't. So I think just --
3 I think that's what -- I'm pretty sure that-
4 -found out from her that she originally
5 thought that that's what happened to her.
6 Q Because she asked him the question about you?
7 A YeS.
8 Q And do you -- so how does -- how do we get from the
9 comment about drugs from Sharon Crary to _
10 _even being part of the discussion? I
11 don't -- I'm not sure I understand that,
12 A I think -- I honestly don't exactly know, but l
13 think my friends started looking into like what she
14 said and --
15 Q Looking into what Sharon Crary said?
16 A What Sharon Crary said and --
17 Q And if l can interrupt you again.
18 A YeS.
19 Q I really don't want to interrupt, but so we don't
20 lose the thread. What is it that you're told by
21 your friends that Sharon Crary has said?
22 A That someone in this house -- there's a rapist in
23 this house, and we need to get him out of here,
24 that -- because someone in this house has been
25 doing that pretty much, and so I've got to make

 

 

 

